AO 106 (Rev 04/10) Application for a Search Warrant



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of Connecticut

              In the Matter of the Search of
          (Briefly describe the property to be searched
           or identify the person by name and address)
        Information associated with Facebook user                          )
          1Ds1851605303and 100042222456800                                 )
                                                                           )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prop,ertv to be searched, arid givr: itslocatipn):                                                                    .     .
  lnrormat1on assoc1atecrw1tn Faceoook user 1Ds1851605303 and 100042222456800, which 1s stored at Facebook, Inc.,
  as described in Attachment A, which is expressly incorporated herein.
located in the         _ _ _ _ _ __                  District of           Connecticut                      , there is now concealed (identify the
person or describe the property to be seized):                                             ~
 Evidence, fruits and instrumentalities of a crime as dBscribed il'rtm..~fftflo\iif OAEI in Attachment B, which is expressly
 incorporated herein.

          The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more):
                 ~ evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description

        18 U.S.C. § 2339B                                                      Attempting to Provide Material Support and Resources to a
                                                                               Foreign Terrorist Organization (FTO)
          The application is based on these facts :



           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: __                                                        ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth 0 1 the attachc<l sheet. 4

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                                                                          --r     ,/                 1 Applicant's signature
                                                                                                  Samuel Wharton, Special Agent
                                                                                                           Printed name and title

Sworn to before me and signed in my presence.


Date:            11/06/2019                                                             /s/ Sarah A. L. Merriam, USMJ
                                                                                                             Judge 's signature

City and state: New H~ e~, gE_nnecticut _ _ __                            _ ,,~ - 6n
                                                                                  -- Sarah A. L. Merriam, U.S. Magistrate Judge
                                                                                       -- - - - -- - - --=------=-- - -
                                                                                                           Printed name and title
